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UNITED STATES OF AMERICA

CLERKU.S
“ No. 414 q- MATE FSET curr

Deputy
CHARLES LANE (01)
a/k/a “LC”

CRIMINAL COMPLAINT

 

I, the undersigned complainant being duly sworn state the following is true and
correct to the best of my knowledge and belief:
Alleged Offense, Possession of Controlled Substance with Intent to Distribute:

On or about October 9, 2018, in the Northern District of Texas, the defendant,
Charles Lane, also known as LC, did knowingly and intentionally possess
with intent to distribute 50 grams or more of methamphetamine, a schedule

II controlled substance, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(A).
Probable Cause:

I, Special Agent M. Wido, under oath, duly state that I am a special agent with the
Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF). The statements set forth
in this affidavit are true and correct to the best of my knowledge and belief, but are not
inclusive of all the evidence or information in the case.

1. On or about October 8, 2018, an ATF confidential informant (CI) placed a
recorded phone call to Charles Lane to confirm a previously negotiated four-ounce
methamphetamine transaction scheduled to occur on October 9, 2018. Lane confirmed

and informed the CI that the methamphetamine would cost $250 per ounce.

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2. On or about October 9, 2018, the CI drove with an undercover ATF agent (UC) to
a home located on Loma Vista Drive in Fort Worth to pick up Lane for the
methamphetamine transaction. The CI parked, Lane came out of the residence,
exchanged pleasantries with the UC, and got in to the CI’s car.

3. Lane instructed the CI to drive to a Home Depot on South Freeway in Fort Worth.
As they drove, Lane called his methamphetamine supply source and told him they were
on their way to the Home Depot. When they arrived at the Home Depot, Lane again
called his supply source to inform him they had arrived.

4, Once Lane’s supply source arrived, the UC gave Lane $1,000 for the four ounces
of methamphetamine. Lane took the money, left, and entered the front passenger side of
the car to meet with his supply source. Lane returned with two small bags containing
methamphetamine and informed the UC that his source charged $300 per ounce. The UC
weighed the methamphetamine and expressed disappointment in regards to the price and
weight of the purchased methamphetamine. Lane said it should weigh about three
ounces, but the UC expressed his frustration that the deal was to buy four ounces of
methamphetamine for $1,000, and this methamphetamine weighed less than three ounces.
Nevertheless, the CI drove back to the Loma Vista home with Lane and the UC where
they then dropped off Lane. The transaction was video and audio recorded.

5. The methamphetamine purchased from Lane was submitted to the Drug
Enforcement Administration laboratory for testing. The testing showed it had a net
weight of about 69 grams, was about 97% pure, and contained about 67 grams of pure d-

methamphetamine hydrochloride.

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Based upon the above facts and circumstances, I respectfully submit there is
probable cause to believe that Lane possessed 50 grams or more of methamphetamine

with the intent to distribute it, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(A).

M. Wido
Special Agent
ATF

SWORN AND SUBSCRIBED before me, on this | Ula day of May, 2019,
at 10:0 \ AVU:¥ 4am, in Fort Worth, Texas.

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HAL R. RAY, JR.
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